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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

NICOLE RADICE,

Plaintiff, :

: C.A. No.:
v. :

: TRIAL BY JURY DEMANDED
BOSTON SCIENTIFIC CORPORATION,

Defendant.
COMPLAINT
JURISDICTION AND VENUE
1. Jurisdiction in this Court is based on the diversity of citizenship of the parties

pursuant to 28 U.S.C. §1332(a)(2).

2. Venue in this Court is proper pursuant to 28 U.S.C. §1391(b).

3. The matter in controversy exceeds the sum or value of $75,000, exclusive of interest
and costs.
THE PARTIES
4, Plaintiff Nicole Radice (“Ms. Radice”) is and was, at all times relevant to this

action, a resident of the State of Connecticut.

5. Defendant Boston Scientific Corporation (hereafter referred to as “BSC”) is a
corporation organized and existing under the laws of the State of Delaware. It may be served by
serving its registered agent for service of process at Corporation Service Company, 25] Little Falls
Drive, Wilmington, Delaware 19808.

6. At all times relevant hereto, BSC acted through its officers, agents, servants, and
employees, or those associated with any relevant subsidiary or related entity, and is therefore liable

for their conduct pursuant to the doctrine of respondeat superior.

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THE PRECISION FAMILY OF NEUROSTIMULATOR DEVICES

7. At all times relevant hereto BCS designed, manufactured, marketed, distributed,
and/or sold a Precision Spectra WaveWriter Model SC-1160, Serial No. 358842, that was
surgically implanted into Ms. Radice’s body (hereafter referred as to the “SCS device”) on May
17, 2019.

8. The SCS device is among the Precision family of neurostimulator devices approved
for commercial distribution by the U.S. Federal Food and Drug Administration (“FDA”) under
PMA (Premarket Approval) No. P030017 pursuant to the authority granted to the FDA by
Congress under the Medical Device Amendments of 1976, 21 U.S.C. §360, et seq. (hereafter
referred to as the “MDA”). These neurostimulator devices are designated by the FDA as Class III
medical devices within the meaning of the MDA.

9. On or about May 14, 2003 BSC filed an original PMA application for the approval
of the Precision" spinal cord stimulation (“SCS”) system (hereinafter referred to as the “Precision
System”), to be used as an aid “in the management of chronic intractable pain of the trunk and/or
limbs, including unilateral or bilateral pain associated with the following: failed back surgery
syndrome, intractable back pain and leg pain”.

10. On or about April 27, 2004 the FDA granted BSC’s PMA application for the
commercial distribution of the Precision System. The FDA’s approval was accompanied by, and
made subject to, certain “Conditions of Approval”. A true and correct copy of the PMA approval
letter and Conditions of Approval are appended hereto as Exhibit A.

11. | The aforementioned approval letter and Conditions of Approval set forth the

following relevant requirements:
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“A PMA supplement must be submitted when unanticipated adverse effects,
increases in the incidents of anticipated adverse effects, or device failures
necessitate a labeling, manufacturing, or device modification”.
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A “Special PMA Supplement—Changes Being Effected” is limited to the
labeling, quality control and manufacturing process changes specified under
21 CFR 814.39(d)(2)..... These changes may be implemented before FDA
approval upon acknowledgment by FDA that the submission is being
processed as a “Special PMA Supplement—Changes Being Effected”.

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POSTAPPROVAL REPORTS. Continued approval of this PMA is
contingent upon the submission of postapproval reports required under 21
CFR 814.84 at intervals of 1 year from the date of approval of the original
PMA..... The postapproval report shall indicate the beginning and ending
date of the period covered by the report and shall include the following
information required by 21 CFR 314.84:
1. Identification of changes described in 21 CFR 814.39(a) and
changed required to be reports to FDA under 21 CFR 814.39(b).
2. *
ADVERSE REACTION AND DEVICE DEFECT REPORTING
As provided by 21 CFR 814.82(a)(9), FDA had determined that in order to
provide continued reasonable assurance of the safety and effectiveness of
the device, the applicant shall submit 3 copies of a written report identified,
as applicable, as an “adverse reaction report “ or “device defect
report”...within 10 days after the applicant receives or has knowledge or
information concerning:

**%

3. Any adverse reaction, side effect, injury, toxicity, or sensitivity
reaction that is attributed to the device and:
a. has not been addressed by the device’s labeling; or,
b. has been addressed by the device’s labeling but is occurring
with expected severity or frequency.
*
REPORTING UNDER THE MEDICAL DEVICE REPORTING (MDR)
REGULATION. The Medical Device Reporting (MDR) Regulation
became effective on December 13, 1984. This regulation was replaced by
the reporting requirements of the Safe Medical Devices Act of 1990 which
became effective July 31, 1996 and requires that all manufacturers and
importers of medical devices. ..report to the FDA whenever they receive or
otherwise become aware of information, from any source, that reasonably
suggests that a device marketed by the manufacturer or importer:
1. May have caused or contributed to a death or serious injury; or
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2. Has malfunctioned and such device or similar device marketed
by the manufacturer or importer would be likely to cause or
contribute to a death or serious injury if the malfunction would
occur.

12. The initial labeling for the Precision System, submitted by BSC and approved by
the FDA, included a Physician Implant Manual. A true and correct copy of the Manual is appended
hereto and incorporated herein as Exhibit B to this Complaint.

13. Onor about May 6, 2010 the FDA approved a supplemental labeling change to the
Precision System under P030017/S098. The approved change was for the consolidation of three
separate instruction manuals—the Physician Implant Manual, the Physician Lead Manual and the
Physician Surgical Lead Manual—into a single manual to be thereafter titled the Precision System
Clinical Manual.

14. On or about May 7, 2012 BSC filed with the FDA a Supplement application—
P030017/S134—for approval of the Precision Spectra System. The stated reason for this
Supplement was to introduce a new neurostimulation system with changes to the design,
components, specifications, and materials used for the Precision System. The new Spectra system
included the use of a new Model SC-1132 Implantable Pulse Generator (IPG) and a Model NM-
6210 USB Power Supply. The new system was to be marketed under the trade name Precision
Spectra System and was indicated as an aid in the management of chronic intractable pain of the
trunk and/or limbs, including unilateral or bilateral pain associated with the following: failed back
surgery syndrome, intractable low back pain and leg pain. The Supplement was approved by the
FDA on December 21, 2012.

15. On or about December 16, 2016 BSC filed with the FDA a Supplement

application—P030017/S271—1o rebrand the Precision Spectra System under the name Spectra

WaveWriter SCS System (hereafter the “Spectra WaveWriter”). BSC also sought to update the

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System’s firmware/software to support new features, but no changes were made to the hardware
or material of any components used in the existing system. The FDA approved the Supplement
application on March 13, 2017.

16. A number of subsequent Supplement applications filed by BSC with the FDA
addressed matters concerning the battery component of the Spectra Wave Writer IPG. For example
on August 21, 2013 BSC filed a Supplement application—P030017/S177—to update the test
software for checking the battery profile of the IPG. On or about February 11, 2015 BSC filed a
Supplement application—P030017/S214— to introduce new battery test equipment. On or about
November 2, 2017 BSC filed a Supplement application for approval of a modification to the IPG
firmware to improve the accuracy of the temperature sensor reading. The data and need for these
Supplement applications resides solely in the possession of BSC.

17. At no time between the introduction of the Precision system in 2004 and May 17,
2019 did BSC make or seek approval of any changes to its labeling that are relevant to the claims
in this action.

18. | OnMay 17, 2019 the SCS device was surgically implanted into Ms. Radice’s body.
Accompanying the device was a circa 2017 Precision Spinal Cord Stimulator System Clinician
Manual for use by Ms. Radice’s physicians. A true and correct copy of the Clinician Manual is
appended hereto and incorporated herein as Exhibit C. Table 1 of the Manual, at page 6 of 69,
summarizes the risks associated with all spinal cord neurostimulators systems based on a sample
of 880 patients. Lead migration was identified as an adverse event that occurred in 19.9% of the
sampled cases. Insufficient pain control and over/under stimulation occurred with 5.2% of the
patients. There is no mention of uncomfortable or painful IPG heating/overheating/electrical

shocks. As for the safety of the Precision System itself, the Manual pointed to a sample of 26
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patients who had received implants prior to January 15,2004. According to Table 2 of the Manual,
also at page 6 of 69, there was | documented instance of “lead migration” resulting in surgery to
reposition and replace the lead and 1 documented instance of “output malfunction” for which the
device itself was surgically replaced. The Manual provides no information as to the Precision
System’s clinical experience for safety between January 15, 2004 and it publication in 2017. Nor
were Ms. Radice’s physicians provided with any additional labeling between the publication of
the 2017 Clinician Manual and May 17, 2019 when Ms. Radice received the SCS device.

19. As required by the FDA’s regulations, the 2017 Clinician Manual given to Ms.
Radice’s physicians listed contraindications, warnings, precautions, and adverse effects associated
with the implantation and use of the SCS device. The only reference to IPG
heating/overheating/electrical shocks is an warning against charging the IPG while sleeping or
without using a Charging Belt or adhesive patch. As for the risk of lead migration, the Manual
states that “[i]n some instances a lead can move from its original location...”, resulting in the loss
of stimulation at the intended pain site. With regard to the movement or migration of the IPG
itself, the Manual states that “[o]ver time, the stimulator may move from its original position”.
There is no reference in the Manual to any risk of electrical shocks occurring with or without
stimulation.

CUSTOMER COMPLAINTS AND RELEVANT RECALL HISTORY

20. The Precision System neurostimulator devices have been the subject of patient
complaints and relevant recall campaigns since its introduction in 2004.

21. On November 22, 2004 BSC initiated a Class 3 Device Recall after a patient
suffered a burn injury while sleeping. Patient notices were sent by FedEx or U.S.. Mail to all

clinicians regarding a labeling addenda to address this circumstance. Upon information and belief
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this labeling addenda was later incorporated into the Clinician Manual appended hereto as Exhibit
Cc.

22. On September 22, 2008 BSC initiated a Class 2 Device Recall due to patients
receiving second and third degree burns at the site of the IPG while charging the device. The report
of these occurrences caused BSC to voluntarily recall its first generation charging device in favor
of a second generation charger. Additionally, a letter with corrected instructions was sent to all of
the affected “customers”.

23. | A review of the FDA’s MAUDE database reveals that for the Precision System
there were thirteen (13) Adverse Event Reports (AERs) relating to insufficient or ineffective pain
relief/stimulation in 2017; seventy-three (73) such AERs in 2018 (partial year only); and one
hundred eleven (111) such AERs in 2019 (partial year only). Most ifnot all of these adverse events
resulted in the surgical explanation or replacement of the IPG. Because the MAUDE database is
limited to 500 AERs per medical device for each calendar year it is reasonable to conclude that
there were in fact more such adverse events from 2017 to 2019.

24. A review of the FDA’s MAUDE database further reveals that for the Precision
Spectra System the FDA received twenty-five (25) AERs relating to warmth/heating/burning with
or without charging at the IPG site in 2017; nineteen (19) such AERs in 2018 (partial year only);
and fifteen (15) such AERs in 2019 (partial year only). Most if not all of these adverse events
resulted in the surgical explanation or replacement of the IPG. Because the MAUDE database is
limited to 500 AERs per medical device for each calendar year it is reasonable to conclude that
there were in fact more such adverse events from 2017 to 2019.

25. | A review of the FDA’s MAUDE database further reveals that for the Precision

Spectra System there were eight (8) AERs relating to electrical shocks or sudden severe
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overstimulation in 2017; six (6) such AERs in 2018 (partial year only); and eleven (11) such AERs
in 2019 (partial year only). Most if not all of these adverse events resulted in the surgical
explanation or replacement of the IPG. Because the MAUDE database is limited to 500 AERs per
medical device for each calendar year it is reasonable to conclude that there were in fact more such
adverse events from 2017 to 2019.

26. A review of the FDA’s MAUDE database further reveals that for the Precision
Spectra System there were seventeen (17) AERs relating to migration or repositioning of the IPG
inside or outside of the surgically-created pocket in 2018 (partial year only) and eight (8) such
AERs in 2019 (partial year only). Most if not all of these adverse events resulted in the surgical
explanation or surgical repositioning of the IPG. Because the MAUDE database is limited to 500
AERs per medical device for each calendar year it is reasonable to conclude that there were in fact
more such adverse events from 2017 to 2019.

THE REGULATORY FRAMEWORK FOR MEDICAL DEVICES

27. |The FDA’s initial approval letter for the Precision family of neurostimulator
devices [and therefore the SCS device] states that “The sole distribution and use of this device are
restricted to prescription use in accordance with 21 C.F.R. 801.109”. Subsections (c) and (d) of
§801.109 provide as follows:

“(c) Labeling on or within the package from which the device is to dispensed bears

information for use, including indications, effects, routes, methods, and frequency

and duration of administration, and any relevant hazards, contraindications, side

effects, and precautions under which practitioners licensed by law to administer

the device can use the device safely and for the purpose for which it was intended,

including all purposes for which it is advertised or represented....

(d) Any labeling, as defined in section 201(m) of the act, whether or not it is on or

within a package from which the device is to be dispensed, distributed by or on

behalf of the manufacturer, packer or distributor of the device, that furnishes or

purports to furnish information for use of the device contains adequate information

for such use, including indications, effects, routes, methods, and frequency and
duration of administration, and any relevant hazards, contraindications, side

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effects, and precautions under which practitioners licensed by law to employ the

device can use the device safely and for the purpose for which it was intended,

including all purposes for which it is advertised or represented...”. [emphasis

added].

21 C.F.R. §814.39(a) requires that a manufacturer of a medical device submit a supplemental PMA
for any proposed labeling changes that affect the safety of the device. Subsection (d) of $814.39
further provides that after the FDA approves a PMA the applicant may put into effect any change
in labeling “...to reflect newly acquired information that enhances the safety of the device...”
before the supplement has been approved, including “labeling changes that add or strengthen a
...warning, precaution, or information about an adverse reaction for which there is reasonable
evidence of a causal association”. See 21 C.F.R. §814.39(d)(1) and (2)(i). These regulatory
requirements were mandated by the Conditions of Approval for the Precision family of devices,
including the Precision model IPG, but there is no indication that BSC complied with or took
action to supplement its labeling to address the relevant hazards at issue in this action.

28. Similarly, the Conditions of Approval issued by the FDA to BSC required
compliance with 21 C.F.R. §814.82(a)(9) which calls for the submission of an Adverse Reaction
Report or Device Defect Report to the FDA within ten days after BSC received or acquired
knowledge of information concerning “...any adverse reaction..., injury, ...that is attributable to
the device and...has not been addressed by the device’s labeling...”. BSC has failed to truly and
adequately submit all the reports required by their provisions.

29. Federal regulations also impose on the manufacturer of a medical device such as
BSC certain reporting requirements. 21 C.F.R. §803.1 states that the purpose of the Medical
Device Reporting (“MDR”) requirements is to “...help us to protect the public health by helping
ensure that devices are not adulterated or misbranded and are safe and effective for their intended

”

use”. Section 803.10(c) requires a manufacturer like BSC to “[s]ubmit reports of individual

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adverse events no later than thirty (30) calendar days after the day that you become aware of a
death, serious injury, or malfunction...” and to “{s]ubmit supplemental reports if you obtain
information that you did not submit in an initial report”. Section 803.50 sets forth similar reporting
requirements. Again BSC had failed to truly and completely submit all the reports required by
their provisions.

30. 21 C.F.R. §806.10 requires a manufacturer like BSC to submit a report of any
correction to a device that is needed to reduce a risk to health posed by the device. There is no
indication that BSC had ever submitted a corrective report to address the relevant hazards at issue
in this action.

31. 21 C.F.R. §820.198 mandates that each manufacturer such as BSC “maintain
procedures for receiving, reviewing, and evaluating complaints...” and ifany complaint represents
a reportable adverse event under 21 C.F.R. §803 to communicate with the complainant upon
completion of its investigation. Ms. Radice has never received any such communication from
BSC.

32. Upon information and belief the FDA publishes reports of adverse events and
MDRs in a searchable database for use by the general public including physicians and patients.
This reporting serves to notify the public of a potential problem with a device so the informed
person can avoid the hazard or develop a solution to address it.

33. Once the SCS device was approved for commercial distribution through the PMA
process, BSC also became bound by the “good manufacturing practices” (“GMP”) requirements
found in 21 C.F.R. §820.1-820.198. §820.90(a) requires that each manufacturer “...establish and
maintain procedures to control product that does not conform to specified requirements”.

§820.100(a)(3) requires each manufacturer to “[i]dentify the action(s) needed to correct and

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prevent reoccurrence of nonconforming product and other quality problems...”. Ms. Radice
received a non-conforming device as set forth below.

MS. RADICE’S EXPERIENCE WITH THE SCS DEVICE

 

34. In 2004 Ms. Radice suffered an injury to her low back when a drunk driver struck
her vehicle in a parking lot. She was initially diagnosed with herniated discs at three lumbar levels
from L3-L4 to L5-S1. Over the ensuing years Ms. Radice developed progressively worsening
degenerative disc disease throughout her lumbar spine, which in turn caused progressively
worsening back pain as well as numbness and weakness in both her legs.

35. Between 2004 and 2016 Ms. Radice tried a variety of conservative treatment
modalities under the care of her long-time pain management physician—Dr. David Kloth. This
included medications, physical therapy, epidural steroid injections, and radiofrequency ablation
procedures. Unfortunately, none of these conservative forms of treatment helped to reduce or
resolve her pain.

36. In 2016 Ms. Radice was informed for the first time that she had a tethered spinal
cord. She was referred to a specialist in Rhode Island who on September 14, 2016 performed
surgery to “detether” the spinal cord together with a traditional laminectomy to address the
herniated discs. Unfortunately, the surgery only made matters worse. Ms. Radice woke up in the
recovery room with excruciating low back pain that radiated down into both legs. She remained
hospitalized in Rhode Island for approximately 1 week until her condition was stable enough to
return to her home in Norwalk, Connecticut.

37. Upon returning home Ms. Radice consulted with several different physicians who
were unable to assist her with her ongoing disabling pain. Eventually she returned to see Dr. Kloth

on May 8, 2018. At that visit Ms. Radice inquired about a spinal cord stimulator device as a

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possible treatment option. Dr. Kloth noted that he had been holding off on assessing her as a
candidate for a neurostimulator device as he wanted to make sure there was no other “definitive
surgical treatment” that could be offered, but none of the doctors she had seen had recommended
further surgery. Given that Ms. Radice’s status quo was “in a bad place” Dr. Kloth gave her some
stimulator materials to read and told her he would discuss it with her in more detail on her next
visit.

38. On June 5, 2018 Ms. Radice reported to Dr. Kloth that she had reviewed the
information on the spinal cord stimulator and wanted to proceed with a trial. It was Dr. Kloth’s
assessment that “the large majority” of her symptoms were “neuropathic” in origin. The plan as
recorded by Dr. Kloth in his progress note was to obtain approval for a trial of a Boston Scientific
spinal cord stimulator with two leads. He also answered “multiple questions” from Ms. Radice
and her significant other regarding the planned trial.

39. On December 3, 2018 Ms. Radice received approval from her insurance company
to proceed with the spinal cord stimulator trial. The trial was initiated by Dr. Kloth on December
10, 2018 and continued for five days through December 14, 2018. At the end of the trial Ms.
Radice reported 70% to 80% improvement in her leg pain and complete resolution of the light
touch sensitivity in her left leg. She did not feel as much improvement in her low back pain, even
at “fairly high amplitudes”, but both she and Dr. Kloth agreed there was enough improvement to
move forward with a permanent implantation.

40. The surgery to permanently implant the SCS device took place on May 17, 2019 at
Danby Hospital in Danbury, Connecticut. The surgery was performed jointly by Dr. Kloth and
Dr. Joshua Marcus (neurosurgeon). A representative from BSC named “Tanner” was also present

to assist with the initial programming of the SCS device. Unfortunately, when “Tanner” turned

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the device on for the first time Ms. Radice experienced an excruciating increase in her pre-
operative pain to the point that she asked him to turn it off. “Tanner” then attempted to adjust the
SCS device’s programming. When he turned the device back on Ms. Radice again experienced a
severe increase in her pain. The SCS device was again turned off and remained off until she
returned home from the Hospital. The plan was to try to re-program it again at her next doctor
visit.

41. | Once home Ms. Radice turned the SCs device back on, but for a third time it
produced severe pain from her low back up into the mid-back area where she had not previously
experienced any pain. She continues to experience this mid-back pain to the present day.

42. On June 11, 2019 Ms. Radice attended her first post-operative visit with Dr. Kloth
in his office in Danbury, Connecticut. A BSC representative was present as well. Again, the
representative attempted to re-program the SCS device, installing three different types of programs
to try to get better coverage of Ms. Radice’s pain. Unfortunately, the results were again sub-
optimal.

43. At her next visit with Dr. Kloth on July 2, 2019 Ms. Radice reported that she felt
the SCS device was not cycling properly and when she used the higher levels of stimulation she
experienced unwanted stimulation in her left flank and kidney area. She also reported that she had
been feeling a sensation of “heat” or “burning” at the site of the IPG, which could occur at any
time but was more prominent when using her charger. At times the IPG would become so hot that
another person could actually touch the area and feel the heat through her skin. She also noticed
that at times the charger would turn itself off after a few seconds because of excessive heat.

44. On July 30, 2019 Ms. Radice returned to Dr. Kloth’s office for a further attempt at

re-programing the device. The goal was to obtain better coverage of her pre-implantation pain and

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eliminate the unwanted stimulation in the area of her left flank and kidney. With interrogation of
the device the BSC representative determined that one of the leads—the left lead—had migrated
away from its original location adjacent to the thoracic spine. X-rays performed on the same date
confirmed that the left lead had migrated caudally one full vertebral body. A medical decision was
made by Dr. Kloth to not perform lead revision surgery, but rather attempt again to re-program the
problem away.

45. | Twomore attempts at re-programming the SCS device were performed by the BSC
representative at Dr. Kloth’s office on September 10, 2019 and September 24, 2019. Again they
were unsuccessful. At that time Ms. Radice continued to experience the unwanted left
flank/kidney stimulation as well as burning pain when using the SCS device at high amplitudes.
On one occasion the pain became so intense that her husband drove her to the Stamford Hospital
Emergency Room in Stamford, Connecticut for help. In his progress note of September 10, 2019
Dr. Kloth wrote the following with regard to the unplanned ER visit, which he shared with Ms.
Radice:

“She is upset and frustrated because her leads have migrated.... There is

not much I can do about that, other than to try to program around the

migration. Her being upset, frustrated, and anxious, leading her to be

depressed and crying, is not a reason to go to the Emergency room. She has

a chronic pain condition and she needs to try to deal with these ups and

downs, when she is upset her pain will be worse.”
Later in the same progress note Dr. Kloth added the following: “My concern (and this was also
espoused by the Boston Scientific representative) nothing we are going to do is going to make her
[Ms. Radice] happy”.

46. On September 24, 2019, the SCS device was again re-programmed “at length” by

the BSC representative. This latest re-programming included turning down the amplitudes to

eliminate the burning pain that she was continuing to experience when using the device. The pain

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that Ms. Radice experienced with one of the programs was so severe that it caused her to become
incontinent with urine. Two times Ms. Radice involuntarily urinated while out in public.

47, Following the September 24, 2019 visit, and the latest attempt at re-programming
the SCS device, Ms. Radice began to experience sudden unexpected “electrical shocks” when
using the device. On one occasion, while lying in bed at approximately 3:00 a.m. Ms. Radice
experienced a particularly intense shock extending from the site of the IPG up into the mid-back
area and at the same time down into her leg. She yelled out in pain and cried for 20 minutes
afterward. At approximately 5:00 a.m. the same morning she experienced another “shock”,
although not as severe as the first one. She found that the “shocks” would occur even if she turned
the SCS device off. These occurrences were reported to Dr. Kloth at her next visit with him on
October 22, 2019. Neither Dr. Kloth nor the BSC representative could offer any explanation for
why this was happening. They again offered to re-program the device but this time Ms. Radice
declined.

48. On December 23, 2019 Ms. Radice experienced on and off electrical shocks all day
long. She asked her mother, who was with her at the time, to inspect her back. It appeared to her
mother that Ms. Radice’s back was swollen in the area of the IPG. At one point her mother touched
the area of the IPG and felt an electrical shock with her fingers at the same time Ms. Radice felt it.
Her mother told her that she needed to have the device taken out. Ms. Radice informed Dr. Kloth
that she wanted to have the SCS device removed and Dr. Kloth in turn referred her back to Dr.
Marcus for a second opinion.

49. On January 8, 2020 Ms. Radice saw Dr. Marcus in his office in Danbury,
Connecticut. The History of Present Illness, as written by Dr. Marcus, states as follows:

“Nicole returns today in follow-up. She is now over a year and a half out
from placement of a spinal cord stimulator and pulse generator. She does

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not feel significant improvement in her left lower extremity sensitivity nor

her back pain following implantation. Shortly after implantation there has

been some inferior migration of the leads. She has a lot of complaints of

pain secondary to battery [IPG] site. She feels the battery is moving and

develops a lot of heat, soreness and itching around the battery insertion site.

She also feels that her entire body can become “electrocuted” intermittently

and without warning.”
According to the progress note Dr. Marcus offered an option a surgical conversion from
percutaneous leads to a paddle lead, but since would require a thoracic laminectomy, and there
being no guarantee that it would improve Ms. Radice’s condition, she opted instead to have the
SCS device surgically explanted.

50. The surgery to explant the SCS device was performed by Dr. Marcus at the Danbury
Hospital in Danbury, Connecticut on February 21, 2020. Ms. Radice took possession of the SCS
device and leads after the surgery and maintains them in her possession at the present time.

51. The substantive law of the State of Connecticut applies to the claims asserted in
this action.

COUNT I
STRICT LIABILITY UNDER THE CONNECTICUT PRODUCT LIABILITY ACT
BASED ON THE DEFECTIVE MANUFACTURE OR
CONSTRUCTION OF THE SCS DEVICE

52. Ms. Radice incorporates the allegations set forth in Paragraphs 1 through 51 above
as if fully restated herein.

53. The State of Connecticut has enacted a statute to govern all product liability claims,
including the claims set forth in this action. General Statutes §52-572m, et seq. (hereafter referred
to as the “Product Liability Act” of “PLA”). §52-572m(b) defines a “product liability claim” as

follows:

“(b) “Product Liability Claim” includes all claims or actions brought for
personal injury...caused by the manufacture, construction, design,

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formula, preparation, assembly, installation, testing, warnings and
instructions, marketing, packaging, or labeling of any product”. “Product
Liability Claim” will include, but is not limited to, any action based on the
following theories: strict liability in tort; negligence; breach of warranty,
express or implied; breach of or failure to discharge a duty to warn or
instruct, whether negligent or innocent; misrepresentation or
nondisclosure, whether negligent or innocent.”

54. The State of Connecticut has adopted Section 402A of the Restatement (Second) of
Torts into its substantive law, including claims asserted under the PLA. See, ¢.g., Vitanza v. The
Upjohn Company, 778 A.2d 829 (Conn. Supr. 2001); Giglio v. Connecticut Light & Power Co.,
429 A.2d 486 (1980).

55. Under Section 402A, as incorporated into the PLA, a product may be defective due
to a flaw in the manufacturing process.

56. Under Section 402A, as incorporated into the PLA, a manufacturer of the product
is strictly liable for injuries suffered if the product was sold in a defective condition unreasonably
dangerous to the user and dangerous to an extent beyond that which would be contemplated by the
ordinary consumer who purchased it.

57. BSC is and was at all times relevant to this action a “manufacturer” within the
meaning of Section 52-572m(e) of the PLA.

58. | BSC manufactured the SCS device for implantation into the human body.

59. The SCS device was defective and unreasonably dangerous when it left the hands
of BSC and was implanted into Ms. Radice’s body.

60. | The SCS device was defective and unreasonably dangerous in that it deviated in a
material way from the design specifications and/or performance standards approved by the FDA.

61. | The SCS device was defective and unreasonably dangerous in that it deviated in a

material way from other identical units from the same product line.

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62. | The SCS device was defective and unreasonably dangerous in that it wholly failed
to deliver adequate or effective stimulation to address Ms. Radice’s pain.

63. | The SCS device was defective and unreasonably dangerous in that it significantly
worsened Ms. Radice’s pain when in use.

64. The SCS device was defective and unreasonably dangerous in that it improperly
cycled itself causing unwanted and painful stimulation.

65. | The SCS device was defective and unreasonably dangerous in that its battery
component and/or electronic microcircuitry caused warmth/heat/burning at the site of the IPG.

66. The SCS device was defective and unreasonably dangerous in that the lead(s)
migrated away from their original location causing unwanted stimulation in areas of the body that
were not intended to be affected.

67. The SCS device was defective and unreasonably dangerous in that it aggravated or
worsened Ms. Radice’s pain complaints.

68. | The SCS device was defective and unreasonably dangerous in that it intermittently
and unexpectedly caused a sensation of “electrical shocks”.

69. The aforementioned defects were beyond those which would have been
contemplated by Ms. Radice or her physicians.

70. | The SCS device was adulterated when it left the control of BSC within the meaning
of 21 U.S.C. §§331 and 351.

71. | The SCS device was defective and unreasonably dangerous in ways that were
known or should have been known by BSC.

72. BSC is strictly liable to Ms. Radice in that it:

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(a) manufactured and sold an adulterated product within the meaning of 21
USS.C. §351;

(b) failed to establish and maintain procedures that would prevent the
incorporation of nonconforming battery and lead components in the SCS device, as mandated by
21 C.F.R. §820.90;

(c) failed to take such action as needed to correct or prevent the incorporation
of nonconforming battery and lead components in the SCS device, as mandated by 21 C.F.R.
§820.100(a)(3);

(d) failed to establish and maintain quality control requirements over the
suppliers of its battery and lead component parts, as mandated by 21 C.F.R. §820.50(2);

(e) failed to evaluate and select suppliers of its component parts on the basis of
their ability to meet specified requirements, as mandated by 21 C.F.R. §850(a)(1);

(f) failed to develop, conduct, control, and monitor production processes to
ensure that the SCS device conformed to the product specifications approved by the FDA, as
mandated by 21 C.F.R. §870(a);

(g) failed to establish and maintain procedures to ensure that nonconforming
manufacturing materials were removed during the manufacturing process, as mandated by 21
C.F.R. §870(h);

(h) failed to perform such inspections and tests or otherwise verify that its
finished product (i.e., the SCS device) conformed to the specified requirements and performance
standards approved by the FDA, as mandated by 21 C.F.R. §820.80; and,

(i) the SCS device was otherwise defective and unreasonably dangerous in its

manufacture or construction as further discovery may demonstrate.

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73. Asa direct and proximate result of the defective and unreasonably dangerous
condition of the SCS device Ms. Radice has suffered serious and permanent bodily injuries and
scarring.

74. As a further direct and proximate result of the defective and unreasonably
dangerous condition of the SCS device Ms. Radice was forced to undergo unnecessary surgeries.

75. As a further direct and proximate result of the defective and unreasonably
dangerous condition of the SCS device Ms. Radice has experienced pain and suffering, mental
anguish, depression, anxiety, aggravation of her PTSD, and the loss of the enjoyment of life.

76. As a further direct and proximate result of the defective and unreasonably
dangerous condition of the SCS device Ms. Radice incurred past medical expenses and will likely
incur medical expenses in the future.

COUNT II
STRICT LIABILITY UNDER THE CONNETICUT PRODUCT LIABILTY ACT BASED
ON THE FAILURE TO PROVIDE ADEQUATE WARNINGS AND INSTRUCTIONS.

77. Ms. Radice incorporates the allegation set forth in paragraphs 1 through 76 above
as if fully restated herein.

78. Section 52-572q(a) of the PLA provides as follows:

(a) A product seller may be subject to liability for harm caused to a claimant
who proves by a preponderance of the evidence that the product was defective and that adequate
warnings or instructions were not provided.

79, Section 402A of the Restatement (Second)of Torts, as incorporated into the PLA,
provides that a product is defective and unreasonably dangerous when it is not accompanied by

adequate warnings or directions as to its use.

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80. BSC is and was, at all times relevant to this action, a ‘product seller” within the
meaning of the PLA.

81. | BSC sold the SCS device for implantation into the human body.

82. | The SCS device was defective and unreasonably dangerous when it left the hands
of BSC and was implanted into Ms. Radice’s body.

83. The SCS device was defective and unreasonably dangerous in that it was not
accompanied by adequate warnings or instructions as to the risk or danger of wholly insufficient
or ineffective stimulation; the risk or danger of warmth/heat/burning caused by the normal use of
the device; the risk or danger of sudden and unexpected overstimulation, electrical shocks, and
unwanted stimulation in areas not intended; and the risk or danger of the migration or repositioning
of the surgically-placed lead(s).

84. BSC is strictly liable to Ms. Radice in that it:

(a) failed to adequately warn Ms. Radice of the SCS device’s defective and
unreasonably dangerous condition including the hazards associated with wholly ineffective or
inadequate pain relief/stimulation; IPG warmth/heat/burning; sudden and unexpected over
stimulation; electrical shocks and unwanted stimulation where not intended; and lead migration;

(b) failed to adequately warn Ms. Radice’s physicians of the SCS device’s
defective and unreasonably dangerous condition including the hazards associated with ineffective
or inadequate pain relief/stimulation; IPG warmth/heat/burning; sudden and unexpected over
stimulation, electrical shocks and unwanted stimulation where not intended; and lead migration;

(c) failed to adequately warn Ms. Radice and her physicians of the
aforementioned hazards as mandated by the FDA in 21 C.F.R. §801.109 and the Conditions of

Approval imposed by the FDA for the commercial distribution of the SCS device;

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(d) failed to correct or change its labeling, including the warnings/instructions,
so as to adequately inform Ms. Radice and her physicians of the aforementioned hazards as
mandated by the FDA in 21 C.F.R. §814.39 and §814.82(a)(9); and,

(e) otherwise failed to act in accordance with its “parallel” duty to warn Ms.
Radice and her physicians under federal law as further discovery may demonstrate.

85. As a direct and proximate result of the defective and unreasonably dangerous
condition of the SCS device Ms. Radice has suffered serious and permanent bodily injuries and
scarring.

86. As a further direct and proximate result of the defective and unreasonably
dangerous condition of the SCS device Ms. Radice was forced to undergo unnecessary surgeries.

87. As a further direct and proximate result of the defective and unreasonably
dangerous condition of the SCS device Ms. Radice has experienced pain and suffering, mental
anguish, depression, anxiety, aggravation of her PTSD, and the loss of the enjoyment of life.

88. As a further direct and proximate result of the defective and unreasonably
dangerous condition of the SCS device Ms. Radice incurred past medical expenses and will likely
incur medical expenses in the future.

COUNT III

NEGLIGENCE UNDER THE CONNETICUT PRODUCT LIABILITY ACT BASED ON
THE DEFECTIVE MANUFACTURE OR CONSTRUCTION OF THE SCS DEVICE

89. Ms. Radice incorporates the allegations set forth in Paragraphs 1 through 88 above
as if fully restated herein.

90. The State of Connecticut has enacted a statute to govern all product liability claims,
including the claims set forth in this action. General Statutes §52-572m, ef seq. §52-572(m)(b)

defines a “product liability claim” as follows:

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“(b) “Product Liability Claim” includes all claims or actions brought for
personal injury...caused by the manufacture, construction, design, formula,
preparation, assembly, installation, testing, warnings and instructions,
marketing, packaging, or labeling of any product”. “Product Liability
claim” will include, but is not limited to, any action based on the following
theories: strict liability in tort; negligence; breach of warranty, express or
implied; breach of or failure to discharge a duty to warn or instruct, whether
negligent or innocent; misrepresentation or nondisclosure, whether
negligent or innocent.”

91. BSC is and was at all times relevant to this action a “manufacturer” within the
meaning of Section 52-572m(e) of the PLA.

92. | BSC manufactured the SCS device for implantation into the human body.

93. | The SCS device was unreasonably dangerous when it left the hands of BSC and
was implanted into Ms. Radice’s body.

94. The SCS device was defective and unreasonably dangerous in that it deviated in a
material way from the design specifications and/or performance standards approved by the FDA.

95. The SCS device was defective and unreasonably dangerous in that it deviated in a
material way from other identical units from the same product line.

96. The SCS device was defective and unreasonably dangerous in that it wholly failed
to deliver adequate or effective stimulation to address Ms. Radice’s pain.

97. The SCS device was defective and unreasonably dangerous in that it significantly
worsened Ms. Radice’s pain when in use.

98. The SCS device was defective and unreasonably dangerous in that it improperly
cycled itself causing unwanted and painful stimulation.

99, The SCS device was defective and unreasonably dangerous in that its battery

component and/or electronic microcircuitry caused warmth/heat/burning at the site of the IPG.

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100. The SCS device was defective and unreasonably dangerous in that the lead(s)
improperly migrated away from their original location causing unwanted stimulation in areas of
the body that were not intended to be affected.

101. The SCS device was defective and unreasonably dangerous in that it aggravated or
worsened M,. Radice’s pain complaints.

102. The SCS device was defective and unreasonably dangerous in that it intermittently
and unexpectedly caused a sensation of “electrical shocks”.

103. The aforementioned defects were beyond those which would have been
contemplated by Ms. Radice or her physicians.

104. The SCS device was adulterated when it left the control of BSC within the meaning
of 21 U.S.C. §§331 and 351.

105. The SCS device was defective and unreasonably dangerous in ways that were
known or should have been known by BSC.

106. BSC was negligent in that it:

(a) manufactured and sold an adulterated product within the meaning of
21 U.S.C. §351;

(b) _ failed to establish and maintain procedures that would prevent the
incorporation of nonconforming battery and lead components in the SCS device, as mandated by
21 C.F.R. §820.90;

(c) failed to take such action as needed to correct or prevent the
incorporation of nonconforming battery and lead components in the SCS device, as mandated by

21 C.F.R. §820.100(a)(3);

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(d) failed to establish and maintain quality control requirements over
the suppliers of its battery and lead component parts, as mandated by 21 C.F.R. §820.50(2);

(e) failed to evaluate and select suppliers of its component parts on the
basis of their ability to meet specified requirements, as mandated by 21 C.F.R. §850(a)(1);

(f) failed to develop, conduct, control, and monitor production
processes to ensure that the SCS device conformed to the product specifications approved by the
FDA, as mandated by 21 C.F.R. §870(a);

(g) failed to establish and maintain procedures to ensure that
nonconforming manufacturing materials were removed during the manufacturing process, as
mandated by 21 C.F.R. §870(h);

(h) failed to perform such inspections and tests or otherwise verify that
its finished product (i.e., the SCS device) conformed to the specified requirements and
performance standards approved by the FDA, as mandated by 21 C.F.R. §820.80; and,

(i) was otherwise negligent in its manufacture or construction of the
SCS device as further discovery may demonstrate.

107. As a direct and proximate result of BSC’s negligence Ms. Radice has suffered
serious and permanent bodily injuries and scarring.

108. Asa further direct and proximate result of BSC’s negligence Ms. Radice was forced
to undergo unnecessary surgeries.

109. As a further direct and proximate result of BSC’s negligence Ms. Radice has
experienced pain and suffering, mental anguish, depression, anxiety, aggravation of her PTSD,

and the loss of the enjoyment of life.

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110. As a further direct and proximate result of the defective and unreasonably
dangerous condition of the SCS device Ms. Radice incurred past medical expenses and will likely
incur medical expenses in the future.

COUNT IV

NEGLIGENCE UNDER THE CONNECTICUT PRODUCT LIABILITY ACT BASED
ON FAILURE TO PROVIDE ADQAUTE WARNINGS AND INSTRUCTIONS

111. Ms. Radice incorporates the allegation set forth in paragraphs 1 through 110 above
as if fully restated herein.

112. Section 52-572q(a) of the PLA provides as follows:

(a) A product seller may be subject to liability for harm caused to a claimant who
proves by a preponderance of the evidence that the product was defective and that adequate
warnings or instructions were not provided.

113. BSC is and was, at all times relevant to this action, a ‘product seller” within the
meaning of the PLA.

114. BSC sold the SCS device for implantation into the human body.

115. The SCS device was defective and unreasonably dangerous when it left the hands
of BSC and was implanted into Ms. Radice’s body.

116. The SCS device was defective and unreasonably dangerous in that it was not
accompanied by adequate warnings or instructions as to the risk or danger of insufficient or
ineffective stimulation; the risk or danger of warmth/heat/burning caused by the normal use of the
device; the risk or danger of sudden and unexpected overstimulation, electrical shocks, and
unwanted stimulation in areas not intended; and the risk or danger of the migration or repositioning
of the surgically-placed lead(s).

117. BSC was negligent in that it:

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(a) failed to adequately warn Ms. Radice of the SCS device’s defective
and unreasonably dangerous condition including the hazards associated with ineffective or
inadequate pain relief/stimulation; IPG warmth/heat/buming; sudden and unexpected over
stimulation, electrical shocks and unwanted stimulation where not intended; and lead migration;

(b) failed to adequately warn Ms. Radice’s physicians of the SCS
device’s defective and unreasonably dangerous condition including the hazards associated with
ineffective or inadequate pain relief/stimulation, IPG warmth/heat/burning; sudden and
unexpected over stimulation, electrical shocks and unwanted stimulation where not intended; and
lead migration;

(c) failed to adequately warn Ms. Radice and her physicians of the
aforementioned hazards as mandated by the FDA in 21 C.F.R. §801.109 and the Conditions of
Approval imposed by the FDA for the commercial distribution of the SCS device;

(d) failed to correct or change its labeling, including the
warnings/instructions, so as to adequately inform Ms. Radice and her physicians of the
aforementioned hazards as mandated by the FDA in 21 C.F.R. §814.39 and §814.82(a)(9); and,

(e) was otherwise negligent as further discovery may demonstrate.

118. Asa direct and proximate result of BSC’s negligence Ms. Radice has suffered
serious and permanent bodily injuries and scarring.

119. Asa further direct and proximate result of BSC’s negligence Ms. Radice was forced
to undergo unnecessary surgeries.

120. As a further direct and proximate result of BSC’s negligence Ms. Radice has
experienced pain and suffering, mental anguish, depression, anxiety, aggravation of her PTSD,

and the loss of the enjoyment of life.

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121. Asa further direct and proximate result of BSC’s negligence Ms. Radice incurred

past medical expenses and will likely incur medical expenses in the future.

WHEREFORE, Plaintiff Nicole Radice demands judgment in her favor and against the

Defendant for the following:

(A)

Compensatory damages for severe and permanent bodily injuries, pain and

suffering, emotional distress, mental anguish, and the loss of the enjoyment of life;

(B)
(C)
(D)
(E)
(F)
(G)

Past and future medical expenses;
Attorneys’ fees;

Expert witness fees;

Pre-and post-judgment interest;
The costs of this action;

Any other relief that the Court deems to be just and proper.

   

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